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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                                 Judge Raymond P. Moore

  Case No. 17-cv-00308-RM-KMT

  ERYN R. MEGNA,
  ROBERT V. MEGNA,
  BACKSTREET BISTRO, LLC,

         Plaintiffs,

  v.

  LITTLE SWITZERLAND OF AMERICA CANDY FACTORY, INC.,
  KRISTINE M. ULLEMEYER,
  HAYES ULLEMEYER,

        Defendants.
  ______________________________________________________________________________

                                     ORDER
  ______________________________________________________________________________

         Pending before the Court is defendants’, Little Switzerland of America Candy Factory, Inc.,

  Kristine M. Ullemeyer, and Hayes Ullemeyer (collectively, “defendants”), Motion for Change of

  Venue (“the motion”) (ECF No. 35). Pursuant to the motion, defendants ask that this Court transfer

  this case to Grand Junction, Colorado. Plaintiffs, Eryn R. Megna, Robert V. Megna, and Backstreet

  Bistro, LLC (collectively, “plaintiffs”), have filed a response to the motion (ECF No. 44) and

  defendant has filed a reply (ECF No. 49).

         For the following reason, the motion (ECF No. 35) is DENIED WITHOUT PREJUDICE.

  Put simply, it is clear from the motion and reply that defendants’ explanations for why the district

  should be changed relate to trial. (See ECF No. 35 at 3; ECF No. 49 at 7.) This case, however, is

  not near trial at this juncture. Notably, a Scheduling Order was only entered two days ago. (ECF

  No. 51.) Pursuant to that Order, discovery will not end until November 26, 2018, and dispositive
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  motions will not be due until January 10, 2019. (Id. at 7.) Continuing in Denver will not prejudice

  any party or witness while discovery and dispositive motion practice (if any) takes place. For

  example, whether or not this case stays in Denver, the parties will still depose witnesses at whatever

  site is most convenient for the parties and the witness. Put another way, the parties have not

  identified any witness who will have to travel to Denver for this case prior to trial.

          Waiting has an added benefit. Both parties appear to agree that the standard for intra-district

  transfer under 28 U.S.C.§ 1404(c) is the same as that developed under 28 U.S.C. § 1404(a) for venue

  transfer. (See ECF No. 35 at 2; ECF No. 44 at 2.) For present purposes, the Court will assume that

  is correct. The parties also appear to agree that “convenience of witnesses” is the most important

  factor under this analysis. (See ECF No. 44 at 4; ECF No. 49 at 4.) Defendants also appear to

  understand, albeit perhaps not fully accept, that the Tenth Circuit requires a movant under § 1404(a)

  to, inter alia, show that any witness was unwilling to come to trial, deposition testimony was

  unsatisfactory, or the use of compulsory process would be necessary. (See ECF No. 49 at 4.) Quite

  understandably, given that the Court is not aware of any witness being asked, defendants do not

  come close to meeting this standard. Instead, defendants rely on inconvenience being “self-evident”

  and speculating on witnesses being unwilling to come to Denver for trial. (See id. at 5-6.) That will

  not be good enough should defendants decide to re-file a motion similar to the instant one later in

  this case. As such, the Court suggests the parties use discovery to identify those witnesses that will

  be called at trial, the materiality of their testimony, and whether they are willing to travel to Denver

  to testify.




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          So it is clear, the Court does not expect another motion for intra-district transfer to be filed

  (if at all) until after the Final Pretrial Conference, which currently appears scheduled for March 11,

  2019. To the extent this case reaches it, at the Final Pretrial Conference, the parties should inform

  the U.S. Magistrate Judge of whether or not an issue with respect to the location of trial still exists.

  If one does, defendants may file a motion for intra-district transfer within fourteen (14) days of the

  Final Pretrial Conference. Plaintiffs may file a response fourteen (14) days thereafter, and

  defendants may file a reply seven (7) days after the filing of plaintiffs’ response.



          SO ORDERED.

          DATED this 25th day of April, 2018.



                                                  BY THE COURT:



                                                  ________________________________________
                                                  RAYMOND P. MOORE
                                                  United States District Judge




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